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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION


NATHANIEL HIERS                            §
                                           §
v.                                         §   CIVIL ACTION NO. 4:20-CV-321-SDJ
                                           §
THE BOARD OF REGENTS OF THE                §
UNIVERSITY OF NORTH TEXAS                  §
SYSTEM, ET AL.                             §

      ORDER
       .    GRANTING PLAINTIFF’S UNOPPOSED MOTION TO EXCEED
            PAGE LIMIT AND EXTEND THE TIME TO RESPOND
                TO DEFENDANTS’ MOTION TO DISMISS

         On this day, the Court considered Plaintiff’s Unopposed Motion to Exceed Page

 Limit and Extend the Time to Respond to Defendants’ Motion to Dismiss. (Dkt. #40).

 The Court hereby GRANTS Plaintiff’s Motion and authorizes Plaintiff a ten-page

 extension on the thirty-page limit for responses to dispositive motions and allows

 Plaintiff to file his response by August 27, 2020.


          So ORDERED and SIGNED this 6th day of August, 2020.




                                                      ____________________________________
                                                      SEAN D. JORDAN
                                                      UNITED STATES DISTRICT JUDGE
